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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DC CENTER FOR INDEPENDENT
 LIVING, et al.,

        Plaintiffs,

        v.                                           Civil Action No. 1:22-cv-03541-JMC

 DISTRICT OF COLUMBIA, et al.,

        Defendants.


                      JOINT REPORT PURSUANT TO LOCAL RULE 16.3

       In accordance with Fed. R. Civ. P. 26(f), LCvR 16.3, and the Court’s March 25, 2024

Minute Order, Plaintiffs and Defendants District of Columbia and Mayor Muriel Bowser (the

District of Defendants) (collectively, the Parties) submit the following report and proposed

scheduling order. Pursuant to Rule 26(f), the Parties conferred by video conference on April 4,

2024. An initial scheduling conference is set for April 25, 2024.

   (1) Whether the case is likely to be disposed of by dispositive motion; and whether, if a
       dispositive motion has already been filed, the parties should recommend to the Court that
       discovery or other matters should await a decision on the motion.

       By Plaintiffs: Currently, given the Court’s denial of the Defendants’ motion to dismiss,

the case is not likely to be dismissed by dispositive motion at this time. Plaintiffs do not know

whether further dispositive motions will be filed once discovery is complete.

       By Defendants: Defendants believe the case is likely to be disposed of on motions for

summary judgment. Defendants’ proposed briefing schedule is set forth below in Paragraph 6

and in the attached Defendants’ Proposed Scheduling Order (Exhibit A).




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    (2) The date by which any other parties shall be joined or the pleadings amended, and whether
        some or all the factual and legal issues can be agreed upon or narrowed.

        The Parties propose October 25, 2024, as the deadline to add parties or amend the

pleadings. At this time, the Parties have not identified areas for narrowing the pending factual or

legal issues.

    (3) Whether the case should be assigned to a magistrate judge for all purposes, including trial.

        The Parties do not request assignment to a magistrate judge.

    (4) Whether there is a realistic possibility of settling the case.

        Plaintiffs are open to settling this case. Counsel for Plaintiff has settled dozens of ADA

cases, including many involving municipalities. In the experience of Plaintiffs’ counsel,

settlement talks are most effective once an expert report has been propounded. However,

Plaintiffs are open to settlement dialogue at any time.

        Defendants may be open to settlement discussions as well, but anticipate that such

conversations would be more productive once discovery has been exchanged.

    (5) Whether the case could benefit from the Court's alternative dispute resolution (ADR)
        procedures (or some other form of ADR); what related steps should be taken to facilitate
        such ADR; and whether counsel have discussed ADR and their response to this provision
        with their clients.

        The Parties do not believe that this case would benefit from ADR at this stage of the

litigation. Plaintiffs contend that the case would benefit from a settlement conference through

the Court’s alternative dispute resolution process later in the litigation, once expert reports have

been exchanged. Defendants may be open to ADR at a later stage in the litigation.

    (6) Whether the case can be resolved by summary judgment or motion to dismiss; dates for
        filing dispositive motions and/or cross-motions, oppositions, and replies; and proposed
        dates for a decision on the motions.

        Plaintiffs may file summary judgment motions. Plaintiffs propose a filing deadline of



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July 18, 2025, that any opposition memorandum be filed within thirty (30) days of the date the

motion was filed, and any reply be filed no more than fourteen (14) days thereafter.

       Defendants expect to move for summary judgment. Defendants propose cross-motions

for summary judgment pursuant to the following schedule: a filing deadline of July 18, 2025 for

Plaintiffs’ motion for summary judgment, a deadline of August 15, 2025 for Defendants’ cross-

motion and opposition, a deadline of September 12, 2025 for Plaintiffs’ opposition and reply,

and a deadline of September 26, 2025 for Defendants’ reply.

       Plaintiffs object to Defendants’ proposal that the filing of dispositive motions be

staggered.

   (7) Whether the parties should stipulate to dispense with the initial disclosures required by
       Fed. R. Civ. P. 26(a)(1), and if not, what if any changes should be made in the scope, form
       or timing of those disclosures.

       The Parties propose the exchange of initial disclosures no later than May 23, 2024.

   (8) The anticipated extent of discovery, how long discovery should take, what limits should be
       placed on discovery; whether a protective order is appropriate; and a date for the
       completion of all discovery, including answers to interrogatories, document production,
       requests for admissions, and depositions.

       Defendants anticipate significant document discovery and multiple depositions on each

side, but presently do not anticipate the need for any limitations on discovery other than those

provided by the Federal Rules of Civil Procedure. The Parties propose that fact discovery close

January 29, 2025.

       The Parties agree that a protective order governing confidential information, including

Plaintiffs’ medical records and some documents in the possession of Defendants, is appropriate.

Counsel for the Parties will work together to draft a protective order and submit it to the Court

for review as soon as practicable after entry of the discovery schedule. The Parties agree to

provide 30 days’ notice of any Rule 30(b)(6) deposition to allow time for the Parties to reach

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agreement about the scope of the deposition and for Parties to identify appropriate witness(es).

    (9) Any issues about disclosure, discovery, or preservation of electronically stored
       information, including the form or forms in which it should be produced.

        The Parties agree to produce ESI either in native format rendered to TIFF images with a

cross-reference load file or as text-searchable Adobe PDF files. In the event metadata is desired

by a receiving party but cannot reasonably be produced via these methods, the Parties will confer

in good faith and attempt to resolve the issue on a case-by-case basis. To the extent either side

seeks the production of email or other electronic communications, the Parties agree that they will

confer in good faith and establish reasonable search parameters, including search terms,

custodians, and time periods; the Parties further agree that they will establish a timetable for the

production of responsive information that takes into consideration the volume of materials to be

searched and the total number of responsive documents to be produced. The Parties do not

currently contemplate disputed issues about the disclosure, discovery, or preservation of ESI.

    (10) Any issues about claims of privilege or of protection as trial-preparation materials,
        including- if the parties agree on a procedure to assert these claims after production-
        whether to ask the court to include their agreement in an order under Federal Rule of
        Evidence 502.

        As discussed above, the Parties intend to negotiate a protective order concerning the

exchange of confidential information. The Parties do not request an order at this time concerning

privilege and agree to confer in good faith regarding such issues should they arise during the

course of the litigation.

    (11) Whether the requirement of exchange of expert witness reports and information pursuant
       to Fed. R. Civ. P. 26(a)(2), should be modified, and whether and when depositions of
       experts should occur.

        The Parties propose that initial expert reports be exchanged March 28, 2025, rebuttal

expert reports or statements be exchanged by May 9, 2025, and discovery related to experts be



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completed by June 13, 2025.

       Plaintiffs request that the requirement related to the provision of a written expert disclosure

pursuant to Fed. R. Civ. P. 26(a)(2)(C) be dispensed with as to Plaintiffs’ treating physician(s) or

other healthcare providers. Defendants oppose this request at this time.

   (12) In class actions, appropriate procedures for dealing with Rule 23, Fed .R. Civ. P.
      proceedings, including the need for discovery and the timing thereof, dates for filing a Rule
      23 motion, and opposition and reply, and for oral argument and/or an evidentiary hearing
      on the motion and a proposed date for decision.

       Not applicable.

   (13) Whether the trial and/or discovery should be bifurcated or managed in phases, and a
      specific proposal for such bifurcation.

       Other than the bifurcation of discovery into fact discovery and expert discovery as set

forth above, the Parties do not anticipate that bifurcation of this case will be necessary.

   (14) The date for the pretrial conference (understanding that a trial will take place 30 to 60
       days thereafter).

       The Parties propose that a pretrial conference date be selected after dispositive motions

have been decided.

   (15) Whether the Court should set a firm trial date at the first scheduling conference or should
      provide that a trial date will be set at the pretrial conference from 30 to 60 days after that
      conference.

       The Parties propose that the trial date be set at the pretrial conference.

   (16) Such other matters that the parties believe may be appropriate for inclusion in a
      scheduling order.

       None at this time.

       Dated this 18th day of April, 2024.

                                                       Respectfully Submitted,

                                                       /s/ Maia Goodell
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